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                              Exhibit E
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                                         UNITED STATES DISTRICT COURT
                                        NORTHERN DISTRICT OF OKLAHOMA

   VIDEO GAMING TECHNOLOGIES, INC.,

                           Plaintiff,

                vs.

   1CASTLE HILL STUDIOS LLC, et al.                                   CASE NO. 17-CV-00454-GKF-JFJ

                           Defendants.


                       DEFENDANTS’ AMENDED OBJECTIONS AND RESPONSES TO
                                    PLAINTIFF’S FIRST SET OF
                       REQUESTS FOR PRODUCTION OF DOCUMENTS AND THINGS

                Defendants Castle Hill Studios LLC, Castle Hill Holdings LLC, and Ironworks

   Development LLC (together “Castle Hill”) submit these amended objections and responses to

   Plaintiff’s First Set of Requests for Production of Documents and Things.

                                               Objections to Definitions

   Defendants object to the following Definitions:

                1.         “Accused Games,” to the extent that it includes any CHG game not identified in

   the definition as the Complaint does not identify the games that allegedly infringe VGT’s

   intellectual property rights.

                2.         “Award Sound Trade Dress Feature” to the extent that it includes any sound other

   than the sound of a mechanical bell as an indicator that the player has won credits made by the

   Accused Games.

                3.         “Bingo Play and Pays Trade Dress Feature” as VGT has failed to identify (a) all

   the “winning bingo patterns VGT uses with its 3-Reel Mechanical Games;” (b) what is meant by

   “the method for conducting the ball drop VGT uses with its 3-Reel Mechanical Games; and




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   privileged documents relating to any actual instances of confusion about the source of the

   Accused Games, and will produce any such documents.



   REQUEST NO. 37: All Documents and Things referring or relating to any comparison

   between VGT and CHG, including similarities or differences in their Marks, Trade Dress, or

   products.

                Response: CHG objects on the grounds that the Request is overly broad, unduly

   burdensome, and not relevant to the claims or defenses of the parties. Subject to and without

   waiving the objection, CHG will perform a reasonable search for responsive, relevant and non-

   privileged documents relating to any comparison of VGT games and the Accused Games, and

   will produce any such documents.



   REQUEST NO. 38: All Documents and Things referring or relating to CHG's knowledge of

   VGT, the VGT Marks, the VGT Trade Dress, the VGT Trade Secrets, and VGT's products.

                Response: CHG objects on the grounds that the Request is overly broad, unduly

   burdensome, and not relevant to the claims or defenses of the parties. As alleged in the

   Complaint, a number of CHG employees previously worked for VGT and were aware of VGT

   and its products for reasons wholly unrelated to the litigation.



   REQUEST NO. 39: All Documents and Things sufficient to show, on a quarterly basis, the

   revenues of each of the Accused Games sold or leased from the date of first use to present.

                Response: CHG will perform a reasonable search for responsive, relevant and non-

   privileged documents sufficient to show CHG’s revenues for the Accused Games.



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   REQUEST NO. 40: All Documents and Things sufficient to show, on a quarterly basis, the

   gross net and profits realized by CHG, directly or indirectly, for each of the Accused Games sold

   or leased from the date of first use to present.

                Response: CHG will perform a reasonable search for responsive, relevant and non-

   privileged documents sufficient to show CHG’s gross and net profits for the Accused Games.



   REQUEST NO. 41: All Documents and Things sufficient to show, on a quarterly basis, CHG's

   gross and net profits since CHG began operating.

                Response: CHG will perform a reasonable search for responsive, relevant and non-

   privileged documents sufficient to show CHG’s gross and net profits.



   REQUEST NO. 42: All Documents and Things sufficient to show a comparison of CHG's

   profitability between its Accused Games and its non-Accused Games.

                Response: CHG objects on the grounds that the Request is overly broad and unduly

   burdensome, and requests information not relevant to the claims or defenses of the parties.

   Castle Hill also objects on the basis that responsive Documents and Things are confidential

   business or trade secret information.



   REQUEST NO. 43: All Documents and Things sufficient to show the number of units of each

   of the Accused Games in operation by month and year and the names and locations of the

   casinos where units are or were operating.




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   CHG also objects on the grounds that the information requested is privileged and protected from

   disclosure under the work-product doctrine. CHG will, however, disclose such materials in

   accordance with the applicable rules and procedures for pre-trial proceedings in this Court.




   Dated: January 29, 2018                      Respectfully submitted,


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